            Case 3:21-cr-01798-GPC Document 17 Filed 10/25/21 PageID.67 Page 1 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case                                                    FILED
                                                                                                                T 2 5 2021
                                         UNITED STATES DISTRICT
                                            SOUTHERN DISTRICT OF CALIFO
              UNITED STATES OF AMERICA
                                    V.
                   OSCAR FELIX-FELIX (1)
                                                                        Case Number:         3:21-CR-01798-GPC

                                                                     Benjamin P Lechman
                                                                     Defendant's Attorney
USM Number                           71685-208

• -
THE DEFENDANT:
IZI pleaded guilty to count(s)            One of the Indictment

D     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged gui lty of such count(s), which involve the following offense(s):


Title and Section / Nature of Offense                                                                                        Count
8: l 326(A), (B) - Attempted Reentry Of Removed Alien                                                                          1




    The defendant is sentenced as provided in pages 2 through                  2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

D     The defendant has been found not gui lty on count(s)

D     Count(s)                                                  is         dismissed on the motion of the United States.

1ZJ   Assessment : $100.00, waived.


•     JVTA Assessment* :$

      *Justice for Victims of Trafficking Act of 2015 , Pub. L. No . 114-22.
IZI   Fine waived                   D Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this di strict within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      October 25. 2021


                                                                      HON. GONZALO P. CURIEL
                                                                      UNITED STATES DISTRICT JUDGE
           Case 3:21-cr-01798-GPC Document 17 Filed 10/25/21 PageID.68 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                 OSCAR FELIX-FELIX (1)                                                   Judgment - Page 2 of 5
CASE NUMBER:               3 :21-CR-0 1798-GPC

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Time Served.




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •     at                             A.M.               on
       •     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

       Defendant deli vered on
                                                                         to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


 at                                       , with a certified copy of this judgment.
      ------------


                                                                    UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                   3:21-CR-01798-GPC
